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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

THOMAS GEBKA, Individually and on )
behalf of all others similarly situated,
                                  )
                                  )
                       Plaintiff, )                  Case No. 22-cv-5546
                                  )
        v.                        )
                                  )                  JURY TRIAL DEMANDED
STATE FARM MUTUAL AUTOMOBILE )
INSURANCE COMPANY,                )
an Illinois Corporation,          )
                                  )
                       Defendant. )

                               CLASS ACTION COMPLAINT

                                       INTRODUCTION

           1.   Plaintiff Thomas Gebka (“Plaintiff”) brings this action to enforce the consumer-

privacy provisions of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, a

federal statute enacted in 1991 in response to widespread public outrage about the proliferation of

intrusive, nuisance telemarketing practices. See Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368,

372 (2012).

           2.   In violation of the TCPA, State Farm via third-parties acting on its behalf made

telemarketing calls to Mr. Gebka’s cellular telephone number for the purposes of advertising State

Farm’s goods and services without express consent which is prohibited by the TCPA.

           3.   Mr. Gebka never consented to receive the calls. Because telemarketing campaigns

generally place calls to hundreds of thousands or even millions of potential customers en masse,

the Plaintiff brings this action on behalf of proposed nationwide classes of other persons who

received illegal telemarketing calls from or on behalf of the Defendant.



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           4.    A class action is the best means of obtaining redress for the Defendant’s wide-scale

illegal telemarketing, and is consistent both with the private right of action afforded by the TCPA

and the fairness and efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.

           5.    This is an action for injunctive relief, statutory damages, and actual damages based

on these unlawful telemarketing calls (commonly referred to as “robocalls”) in violation of the

federal TCPA.

                                          THE PARTIES

           6.    Thomas Gebka is an individual residing in Hendersonville, Tennessee.

           7.    State Farm Mutual Automobile Insurance Company (“State Farm” or “Defendant”)

is an Illinois corporation doing business in Illinois with its principal place of business in

Bloomington, Illinois.

                                  JURISDICTION AND VENUE

           8.    The Court has federal question subject matter jurisdiction over these TCPA claims.

Mims v. Arrow Financial Services, LLC, 565 U.S. 368 (2012).

           9.    The events described herein relate to unlawful telemarketing calls to Plaintiff’s

cellular telephone number.

           10.   Venue is appropriate in this district pursuant to 28 U.S.C. § 1391(b)(1) because

Defendant does business in this District and thus resides in this District within the meaning of 28

U.S.C. § 1391(c)(2).

                    THE TELEPHONE CONSUMER PROTECTION ACT

           11.   In 1991, Congress enacted the TCPA to regulate the explosive growth of the

telemarketing industry. In so doing, Congress recognized that “[u]nrestricted telemarketing . . .

can be an intrusive invasion of privacy [.]” Telephone Consumer Protection Act of 1991, Pub. L.



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No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

           12.    According to findings by the Federal Communication Commission (“FCC”), the

agency Congress vested with authority to issue regulations implementing the TCPA, such calls are

prohibited because, as Congress found, artificial and prerecorded voice telephone calls are a

greater nuisance and invasion of privacy than live solicitation calls, and such calls can be costly

and inconvenient.

           The TCPA Prohibits Artificial and Prerecorded Voice Telemarketing Calls

           13.    The TCPA makes it unlawful to make any telemarketing call, using an artificial or

prerecorded voice, to any cellular telephone number without prior express written consent. See 47

U.S.C. § 227(b)(1)(A)(iii); 47 C.F.R. § 64.1200(a)(1)(iii), (a)(2). The TCPA provides a private

cause of action to persons who receive calls in violation of 47 U.S.C. § 227(b)(1)(A) or 47 C.F.R.

§ 64.1200(a)(1)-(2). See 47 U.S.C. § 227(b)(3).

           The TCPA Prohibits Calling Numbers on the National Do Not Call Registry

           14.    The TCPA also prohibits making advertising or telemarking calls to any telephone

number that is registered on the National Do-Not-Call registry. See 47 C.F.R. § 64.1200(c)(2); 47

U.S.C. § 227(c)(5).

           15.    The TCPA provides a private cause of action to persons who receive more than one

call on behalf of the same entity within any 12-month period in violation of 47 C.F.R. §

64.1200(c)(2). See 47 U.S.C. § 227(c)(5).

           Sellers like State Farm Are Liable under the TCPA

           16.    The FCC has held that a company on whose behalf a telephone call is made bears

the responsibility for any violations. In re Rules Implementing the Tel. Consumer Prot. Act of

1991, 23 FCC Rcd 559, 565 (¶ 10) (Jan. 4, 2008) (specifically recognizing “on behalf of” liability



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in the context of an autodialed or prerecorded message call sent to a consumer by a third party on

another entity’s behalf under 47 U.S.C. § 227(b)).

           17.    On May 9, 2013, the FCC released a Declaratory Ruling holding that a corporation

or other entity that contracts-out its telephone marketing “may be held vicariously liable under

federal common law principles of agency for violations of either section 227(b) or section 227(c)

that are committed by third-party telemarketers.” In re DISH Network, LLC, 28 FCC Rcd 6574,

6574 (¶ 1) (2013).

           18.    The May 2013 FCC Ruling held that, even absent evidence of a formal contractual

relationship between the seller and the telemarketer, a seller is liable for telemarketing calls if the

telemarketer “has apparent (if not actual) authority” to make the calls. In re DISH Network, LLC,

28 FCC Rcd at 6586 (¶ 34).

           19.    The FCC has rejected a narrow view of TCPA liability, including the assertion that

a seller’s liability requires a finding of formal agency and immediate direction and control over

the third-party who placed the telemarketing call. In re DISH Network, LLC, 28 FCC Rcd at 6587

n.107.

           20.    The May 2013 FCC Ruling further clarifies the circumstances under which a

telemarketer has apparent authority:

           [A]pparent authority may be supported by evidence that the seller allows the
           outside sales entity access to information and systems that normally would be
           within the seller’s exclusive control, including: access to detailed information
           regarding the nature and pricing of the seller’s products and services or to the
           seller’s customer information. The ability by the outside sales entity to enter
           consumer information into the seller’s sales or customer systems, as well as the
           authority to use the seller’s trade name, trademark and service mark may also be
           relevant. It may also be persuasive that the seller approved, wrote or reviewed the
           outside entity’s telemarketing scripts. Finally, a seller would be responsible under
           the TCPA for the unauthorized conduct of a third-party telemarketer that is
           otherwise authorized to market on the seller’s behalf if the seller knew (or
           reasonably should have known) that the telemarketer was violating the TCPA on


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           the seller’s behalf and the seller failed to take effective steps within its power to
           force the telemarketer to cease that conduct.

In re DISH Network, LLC, 28 FCC Rcd at 6592 (¶ 46).

           21.    The Federal Communication Commission has confirmed sellers such as State Farm

may not avoid liability by outsourcing telemarketing:

           [A]llowing the seller to avoid potential liability by outsourcing its telemarketing
           activities to unsupervised third parties would leave consumers in many cases
           without an effective remedy for telemarketing intrusions. This would particularly
           be so if the telemarketers were judgment proof, unidentifiable, or located outside
           the United States, as is often the case. Even where third-party telemarketers are
           identifiable, solvent, and amenable to judgment limiting liability to the telemarketer
           that physically places the call would make enforcement in many cases substantially
           more expensive and less efficient, since consumers (or law enforcement agencies)
           would be required to sue each marketer separately in order to obtain effective relief.
           As the FTC noted, because “[s]ellers may have thousands of ‘independent’
           marketers, suing one or a few of them is unlikely to make a substantive difference
           for consumer privacy.”

In re DISH Network, LLC, 28 FCC Rcd at 6588 (¶ 37) (internal citations omitted).

                                    THE UNLAWFUL CONDUCT

           22.    Plaintiff restates the above and foregoing as though fully restated herein.

           23.    State Farm authorizes its agencies (hereinafter, “State Farm agencies”) to act as

agents of State Farm for the purpose of soliciting, selling, and servicing State Farm insurance, and

the State Farm agencies consent to so act.

           24.    State Farm agencies have State Farm’s actual and apparent authority to appoint

subagents for solicitation and telemarketing purposes.

           25.    State Farm agencies appoint third-party telemarketing vendors as subagents to

solicit people to purchase State Farm insurance.

           26.    Specifically, State Farm agencies engage third-party telemarketing vendors to make

telemarketing calls to generate “leads” to purchase State Farm insurance.



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           27.    The third-party vendors directed call centers to make telemarketing calls to generate

the “leads” to purchase State Farm insurance.

           28.    The lead-generation process involves making telemarketing calls, without prior

express written consent, invitation or permission, for the purpose of advertising and encouraging

the purchase of State Farm insurance.

           29.    The State Farm agencies accepted the lead information, spoke to those consumers

about purchasing State Farm insurance, and provided some of them quotes for State Farm

insurance.

           30.    State Farm and the State Farm agencies knowingly accepted business originated

through these telemarketing calls.

           The Calls to Plaintiff

           31.    Plaintiff registered his residential telephone number on the National Do Not Call

Registry more than 31 days prior to the calls at issue.

           32.    On April 15, 2020, Plaintiff received a call on his cellular telephone number from

caller ID (630) 772-5479.

           33.    No company name was transmitted via Caller ID.

           34.    At the outset of the call, there was a brief pause of dead air, then a live

representative came on the line and asked Plaintiff if he was interested in auto or homeowners

insurance quotes. Plaintiff listened to the entire telemarketing pitch to confirm who was behind

the call. After confirming Plaintiff’s email address and zip code, the telemarketer told Plaintiff

that someone would be calling him back.

           35.    Approximately thirty minutes after Plaintiff terminated the telemarketing call, a

State Farm agency in Nolensville, Tennessee sent Plaintiff an email containing State Farm’s



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corporate name and trademarked logo, a hyperlink to a quote for State Farm insurance, and a

hyperlink to State Farm’s website and State Farm’s various social media handles.

           36.   On April 16, 2020, the same State Farm agency in Nolensville, Tennessee that had

emailed Plaintiff the insurance quote one day earlier called Plaintiff’s cellular telephone number.

Plaintiff did not answer this call and the State Farm agency left Plaintiff a voicemail about the

insurance quote.

           37.   On July 21, 2020, Plaintiff received a call on his cellular telephone number from

caller ID (630) 994-9685 using an artificial and/or prerecorded voice.

           38.   A prerecorded/artificial voice asked if Plaintiff was interested in an auto insurance

quote.

           39.   Then the system paused and waited for a prompt from Plaintiff.

           40.   In order to determine who made the artificial and/or prerecorded voice call, Plaintiff

said yes to the prerecorded/artificial voice prompt.

           41.   After Plaintiff said yes to the prerecorded/artificial voice prompt, the system paused

while it analyzed Plaintiff’s response. Then the system asked for Plaintiff’s name, zip code, and

the make and model of his automobile.

           42.   Then the system paused and waited for a prompt from Plaintiff.

           43.   After Plaintiff recited the requested information, the system paused while it

analyzed Plaintiff’s response. Then the system asked if Plaintiff was interested in receiving quotes

for other types of insurance.

           44.   The following day, July 22, 2020, a State Farm agency in Franklin, Tennessee

called Plaintiff’s cellular telephone number. Plaintiff answered the call and asked the State Farm

agent how he obtained Plaintiff’s phone number. The State Farm agent said he received it from a



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lead source called Everquote.

           45.   During the July 22, 2020 call where Plaintiff complained he did not consent to the

prerecorded call, the State Farm agent asked Plaintiff if wanted to be added to their internal do-

not-call list, and Plaintiff said yes.

           46.   Following the July 22, 2020 call, Plaintiff’s cellular telephone number was not

added to Defendant’s or its callers’ internal do-not-call lists, they did not create or maintain any

record of Plaintiff’s request not to receive further telemarketing calls, and they did not honor

Plaintiff’s do-not-call request.

           47.   Instead, Plaintiff continued to receive telemarketing calls promoting State Farm’s

insurance products and services.

           48.   On November 2, 2020, the same State Farm agency in Franklin, Tennessee called

Plaintiff’s cellular telephone number again. The State Farm agent promoted State Farm insurance

products and services, and said she would email Plaintiff an updated insurance quote. Plaintiff

asked the State Farm agent how she obtained Plaintiff’s phone number, and the agent said she

received it from a lead source called Everquote.

           49.   On December 7, 2020 Plaintiff received yet another call on his cellular telephone

number from the same State Farm agency in Franklin, Tennessee about a quote for State Farm

insurance. Plaintiff again told the State Farm agent he was not interested and Plaintiff asked the

agent to place him on their do not call list. The agent said that she would do so.

           50.   On February 25, 2021, Plaintiff received yet another call on his cellular telephone

number using an artificial and/or prerecorded voice, this time from caller ID (630) 890-4056.

           51.   The same prerecorded/artificial voice message from the July 21, 2020

telemarketing call asked if Plaintiff was interested in an auto insurance quote.



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           52.   Then the system paused and waited for a prompt from Plaintiff.

           53.   In order to determine who made this artificial/prerecorded voice call, Plaintiff said

yes to the artificial/prerecorded voice prompt.

           54.   After Plaintiff said yes to the artificial/prerecorded voice prompt, the system paused

while it analyzed Plaintiff’s response. Then the system asked for Plaintiff’s name, zip code, and

the make and model of his automobile.

           55.   Then the system paused and waited for a prompt from Plaintiff.

           56.   After Plaintiff recited the requested information, the system paused while it

analyzed Plaintiff’s response. Then the system asked if Plaintiff was interested in receiving quotes

for other types of insurance.

           57.   The July 21, 2020 and February 25, 2021 calls both asked the same questions,

phrased in the same way, in the same sequence, using the same prerecorded/artificial voice, with

identical intonation.

           58.   During the July 21, 2020 and February 25, 2021 calls, the voice, after asking each

question, paused and, without making any other comments or sounds, waited for Plaintiff to speak,

and there was complete silence during each pause without the sea of voices or other background

noise of a call center.

           59.   During the July 21, 2020 and February 25, 2021 calls, after each time Plaintiff

spoke, the system paused while the program analyzed what Plaintiff had said and determined what

to say or ask Plaintiff next. This indicates both calls used an artificial and/or prerecorded voice.

           60.   The template-based, generic content of the messages that played during the July 21,

2020 and February 25, 2021 calls also indicates both calls used an artificial and/or prerecorded

voice.



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           61.   At no time did Plaintiff provide express written consent authorizing State Farm,

any State Farm agency, or anyone else to deliver or cause to be delivered advertisements or

telemarketing messages to his cellular telephone number using an artificial or prerecorded voice.

           62.   At no time did Plaintiff sign a written agreement with State Farm, any State Farm

agency, or anyone else containing Plaintiff’s cellular telephone number and stating Plaintiff agrees

to be contacted on that number by State Farm or any State Farm agency.

                                   STATE FARM’S LIABILITY

           63.   State Farm is extensively involved in the operations of State Farm agencies.

           64.   State Farm requires State Farm agencies to follow detailed standards set by State

 Farm.

           65.   State Farm has the ability, at any time without prior notice to State Farm agencies,

 to change the standards State Farm agencies must follow.

           66.   State Farm has the right to monitor the State Farm agencies’ compliance with State

 Farm’s standards and terminate the agency relationship for noncompliance.

           67.   State Farm authorized, advised, and encouraged State Farm agencies to use third-

 party vendors to generate “leads” to purchase State Farm insurance policies, including by making

 telemarketing calls, and recommended that they do so.

           68.   State Farm knew State Farm agencies were using third-party vendors to make

 telephone solicitation calls to generate leads to purchase State Farm insurance.

           69.   The State Farm agencies specified to the third-party telemarketing vendors the

 geographic parameters for the leads they could telemarket to, the specific type(s) of State Farm

 insurance to promote, the number of leads to generate, and the times in which to call.

           70.   The State Farm agencies had the right to terminate their relationships with the third-



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 party telemarketing vendors.

           71.   The State Farm agencies maintained ultimate discretion about whether to accept

 any given lead from the third-party vendors and provide a lead a quote for State Farm insurance.

           72.   State Farm insurance policies were sold to leads generated by the illegal

 telemarketing calls, thereby enlarging State Farm’s customer base, and insurance premiums were

 collected for those insurance policies.

                                     CLASS ALLEGATIONS

           73.   As authorized by Rule 23 of the Federal Rules of Civil Procedure, Plaintiff brings

this action on behalf of a class of all other persons or entities similarly situated throughout the

United States.

           74.   The classes of persons Plaintiff proposes to represent are tentatively defined,

subject to amendment, as follows:

                 Artificial/Prerecorded Voice Class
                 Each person within the United States: (1) to whose cellular telephone
                 number; (2) Defendant or anyone acting on Defendant’s behalf placed a
                 non-emergency telephone call; (3) promoting Defendant’s products or
                 services; (4) using an artificial or prerecorded voice; (5) without prior
                 express written consent of the called party to call said telephone number;
                 (6) at any time from four years before the date this Complaint was filed
                 through trial.


                 Do Not Call Class
                 Each person in the United States: (1) to whose telephone number Defendant
                 or anyone acting on Defendant’s behalf initiated two or more telephone
                 solicitations during a 12-month period; (2) where the person’s telephone
                 number was registered on the National Do Not Call Registry more than
                 thirty-one days before the telephone solicitations; (3) at any time from four
                 years before the date this Complaint was filed through trial.


           75.   Upon information and belief, the members of the classes received one or more

automated calls for telemarketing purposes without having given prior express consent.


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           76.   The classes as defined above are identifiable through phone records, phone number

databases, and business records.

           77.   The potential class members number at least in the thousands, since automated

telemarketing campaigns make calls to hundreds or thousands of individuals per day. Individual

joinder of these persons is impracticable.

           78.   Plaintiff is a member of the proposed classes.

           79.   There are questions of law and fact common to Plaintiff and to the proposed

classes, including but not limited to the following:

                 a)     Whether Defendant violated the TCPA;

                 b)     Whether the calls used an artificial and/or prerecorded voice;

                 c)     Whether the calls constitute telephone solicitations;

                 d)     Whether the calls constitute telemarketing;

                 e)     Whether the calls included or introduced an advertisement;

                 f)     Whether Defendant, the State Farm agencies, the third-party vendors,

                        and/or any subcontractors who placed the calls instituted procedures for

                        maintaining an internal do-not-call list of persons who requested not to

                        receive telemarketing calls by or on behalf of that person or entity;

                 g)     Whether the conduct of Defendant, the State Farm agencies, the third-party

                        vendors, and/or any subcontractors who placed the calls was knowing

                        and/or willful;

                 h)     Whether State Farm agencies are agents of State Farm;

                 i)     Whether State Farm ratified the conduct of the State Farm agencies;

                 j)     Whether the third-party vendors are agents of the State Farm agencies



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                        and/or State Farm;

                 k)     Whether the State Farm agencies and/or State Farm ratified the conduct of

                        the third-party vendors;

                 l)     Whether the third-party vendors are subagents of State Farm and/or the

                        State Farm agencies;

                 m)     Whether Defendant is liable for the calls and/or other acts and omissions of

                        the State Farm agencies or the third-party vendors; and

                 n)     Whether the Plaintiff and the class members are entitled to statutory

                        damages and/or injunctive relief because of Defendant’s actions.

           80.   Plaintiff’s claims are typical of the claims of class members. Plaintiff’s claims, like

the claims of the Class arise out of the same common course of conduct by Defendant and its

agents and subagents, and are based on the same legal and remedial theories.

           81.   Plaintiff is an adequate representative of the classes because his interests do not

conflict with the interests of the classes, he will fairly and adequately protect the interests of the

classes, and he is represented by counsel skilled and experienced in class actions.

           82.   Common questions of law and fact predominate over questions affecting only

individual class members. The only individual question concerns identification of class members,

which will be ascertainable from records maintained by Defendant, its agents and subagents, the

National Do Not Call Registry, and others.

           83.   Management of these claims is likely to present significantly fewer difficulties than

are presented in many class claims because the calls at issue are all automated. Class treatment is

superior to multiple individual suits or piecemeal litigation because it conserves judicial resources,

promotes consistency and efficiency of adjudication, provides a forum for small claimants, and



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deters illegal activities. There will be no significant difficulty in the management of this case as a

class action.

           84.   The likelihood that individual members of the classes will prosecute separate

actions is remote due to the time and expense necessary to prosecute an individual case.

           85.   Defendant has acted and failed to act on grounds generally applicable to Plaintiff

and the other members of the Class, thereby making final injunctive relief and corresponding

declaratory relief appropriate with respect to the Class as a whole. Prosecution of separate actions

by individual members of the putative Class, should they even realize that their rights have been

violated, would likely create the risk of inconsistent or varying adjudications with respect to

individual members of the Class that would establish incompatible standards of conduct.

           86.   The identities of the class are readily identifiable from records maintained by

Defendant, its agents and subagents, the National Do Not Call Registry, and others.

                                             COUNT I
                                      Violations of the TCPA
                     Artificial/Prerecorded Voice Calls to Cellular Numbers

           87.   Plaintiff and the class members re-allege and incorporate by reference the

allegations contained in the foregoing paragraphs as if fully set forth herein.

           88.   Defendant or someone acting on Defendant’s behalf made at least one call to

Plaintiff’s cellular telephone numbers using an artificial or prerecorded voice.

           89.   The calls to Plaintiff’s cellular telephone number were not made for emergency

purposes within the meaning of the TCPA.

           90.   The calls to Plaintiff’s cellular telephone number advertised the commercial

availability or quality of Defendant’s insurance goods and/or services.

           91.   The calls to Plaintiff’s cellular telephone number “included or introduced an



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advertisement” within the meaning of the TCPA.

           92.   The calls to Plaintiff’s cellular telephone number were for the purpose of

encouraging the purchase or rental of, or investment in, Defendant’s insurance goods and/or

services.

           93.   The calls to Plaintiff’s cellular telephone number constitute “telemarketing” within

the meaning of the TCPA.

           94.   Neither Defendant nor any entity calling on behalf of Defendant had Plaintiff’s

prior express written consent to make the calls to Plaintiff’s cellular telephone number using an

artificial or prerecorded voice.

           95.   Neither Defendant nor any entity calling on behalf of Defendant had Plaintiff’s

“prior express written consent,” as defined by 47 C.F.R. § 64.1200(f)(8), to make the calls to

Plaintiff’s cellular telephone number.

           96.   Plaintiff’s telephone number is, and at all times pertinent was, assigned to a cellular

telephone service within the meaning of 47 U.S.C. § 227(b)(1)(A)(iii) and 47 C.F.R. §

64.1200(a)(1)-(2).

           97.   Defendant violated the TCPA, including 47 U.S.C. § 227(b)(1)(A)(iii), each time

Defendant or someone acting on Defendant’s behalf made a non-emergency call to Plaintiff’s

cellular telephone number using an artificial or prerecorded without Plaintiff’s prior express

consent.

           98.   Defendant violated the TCPA implementing regulations, including 47 C.F.R. §

64.1200(a)(2), each time Defendant or someone acting on Defendant’s behalf made a call to

Plaintiff’s cellular telephone number that included or introduced an advertisement, or constituted

telemarketing, using an artificial or prerecorded voice without Plaintiff’s prior express written



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consent.

           99.    Defendant’s artificial or prerecorded voice calls invaded Plaintiff’s and the class

members’ privacy and violated their legal rights under federal law to not be subjected to such

unlawful and anonymous automated calls.

           100.   The artificial or prerecorded voice calls to Plaintiff’s and the class members’

cellular telephone numbers, and the acts and omissions as to those calls described herein, were

deliberate and conscious acts or omissions.

           101.   The artificial or prerecorded voice calls to Plaintiff’s and the class members’

cellular telephone numbers were willful or knowing as those terms are defined in the

Communications Act of 1934 and administered by the FCC. Therefore it is within the Court’s

discretion to award Plaintiff and the class members up to three times the available statutory

damages as prescribed under 47 USC § 227(b)(3) and 47 USC § 227(c)(5).

           102.   As a result of Defendant’s illegal conduct, Plaintiff and the members of the class

suffered actual damages and, under 47 U.S.C. § 227(b)(3) and 47 U.S.C. § 227(c)(5), are entitled

to, inter alia, a minimum of $500.00 in damages for each such violation of the TCPA.

           103.   Plaintiff and the class members are also entitled to and do seek injunctive relief

prohibiting Defendant from violating the TCPA in the future.

                                          COUNT II
                                   Violations of the TCPA
                              Advertising/Telemarketing Calls to
                          Numbers on the National Do Not Call Registry

           104.   Plaintiff and the class members re-allege and incorporate by reference the

allegations contained in the foregoing paragraphs as if fully set forth herein.

           105.   It is a violation of the TCPA for any person or entity to initiate any telephone

solicitation to a residential or cellular number registered on the National Do Not Call Registry.


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See 47 C.F.R. § 64.1200(c)(2); id. at § 64.1200(e).

           106.   Defendant or someone acting on Defendant’s behalf made two or more telephone

solicitation calls to Plaintiff’s and the putative class members’ telephone numbers that were

registered on the National Do Not Call Registry for more than 31 days prior to the calls.

           107.

           108.   Plaintiff and members of the putative Class have received more than one telephone

call made by or on behalf of Defendant within a twelve (12) month period in violation of the

regulations set forth in 47 C.F.R. § 64.1200.

           109.   As a result of Defendant’s conduct and pursuant to 47 U.S.C. § 227(c)(5) of the

TCPA, Plaintiff and the other members of the putative Class were harmed and are each entitled to

$500.00 in damages for each violation. Plaintiff and the class are also entitled to an injunction

against future calls.

           WHEREFORE, Plaintiff Thomas Gebka, on behalf of himself and the other members of

the Classes, prays for the following relief:

                  a)    A declaration that Defendant’s practices described herein violate the

                        Telephone Consumer Protection Act, 47 U.S.C. § 227;

                  b)    An injunction prohibiting Defendants from initiating telephone solicitations to

                        persons who have registered their telephone numbers with the National Do Not

                        Call Registry;

                  c)    An award of actual damages;

                  d)    An award of statutory damages for Plaintiff and each Class member in the

                        amount of $500.00 for each and every call that violated the TCPA;

                  e)    An award of treble damages, as provided by statute, of up to $1,500.00 for



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                        Plaintiff and each Class member for each and every call that violated the

                        TCPA;

                   f)   An order certifying this action to be a proper class action pursuant to the

                        Federal Rules of Civil Procedure 23, establishing the appropriate Class and

                        any Subclasses the Court deems appropriate, finding that Plaintiff is a proper

                        representative of the Class, and appointing the lawyers and law firms

                        representing Plaintiff as counsel for the Class; and

                   g)   Such further and other relief the Court deems reasonable and just.

                                             JURY DEMAND

           Pursuant to Fed. R. Civ. P. 38(b), Plaintiff, individually and on behalf of all others similarly

situated, demands a trial by jury on all issues so triable.

Dated: October 10, 2022
                                                   Respectfully Submitted,

                                                   THOMAS GEBKA, individually and on behalf of all
                                                   others similarly situated, Plaintiffs

                                                   By: /s/ Keith J. Keogh

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